= Case 1:01-cv-10659-RBC Document1 Filed 04/19/01 Page 1 of 19

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

JASON HUNTER,

Plaintiff, O/-Cv-/06 Co _
v. CIVIL ACTION.
NO. SY Le?

YOUTHSTREAM MEDIA NETWORKS, INC. and
NETWORK EVENT THEATER, INC.,

Ke

Defendants.

NOTICE OF REMOVAL C O i

To: The Honorable Judges of the
United States District Court for the
District of Massachusetts

Ree Nee ee ee ee Oe Oe ee

This Notice of Youthstream Media Networks, Inc. and Network Event
Theater, Inc. (the "Defendants"), respectfully shows:

1. Youthstream Media Networks, Inc. and Network Event Theater,
Inc. are the Defendants in a civil action brought in the Superior Court of
Massachusetts, Middlesex County, C.A. No. 01-01606, entitled Jason Hunter v.
Youthstream Media Networks, Inc. and Network Event Theater, Inc. The
Defendants first received a copy of the Summons and Complaint in said action
on or after April 17, 2001. Copies of all pleadings received by Defendants are
attached hereto as Exhibits A-C.

2, The above-described action is an action of which this Court has

jurisdiction and is removable under the provisions of Title 28,-United States

LITDOCS:180359. 1LITDOCS:403665.1

,. Case 1:01-cv-10659-RBC Document1 Filed 04/19/01 Page 2 of 19

2.

Code §§ 1332 and 1441(a) and (b) in that it is a civil action between citizens of
different states, as more fully appears herein, and as reflected in the Civil
Action Cover Sheet, the amount in controversy exceeds $75,000.

3. On information and belief, based on the allegations of the
Complaint, the Plaintiff was, at the time this action was commenced, and still is
as individual residing in Cambridge, Massachusetts.

4. Defendant Youthstream Media Networks, Inc. is a corporation
organized under the laws of the state of Delaware with a principal place of
business in New York City, New York.

5. Defendant Network Event Theater, Inc. is a corporation organized
under the laws of the state of Delaware with a principal place of business in
New York City, New York.

6. Pursuant to Local Rule 81.1(a), the Defendants shall request from
the Clerk of the Middlesex County Superior Court certified or attested copies of
all records and proceedings in the state court and certified or attested copies of
all docket entries therein and shall file same within thirty days of the filing of
this Notice.

WHEREFORE, the Defendants pray that the above action now pending in
the Superior Court of the Commonwealth of Massachusetts, Middlesex County,

be removed therefrom to this Court.

Respectfully submitted,

YOUTHSTREAM MEDIA
NETWORKS, INC. and NETWORK
EVENT THEATER, INC.

By their attorneys,

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oseph L. Kociubes, BBO #276960
Alicia L. Downey, BBO #564265
BINGHAM DANA LLP

150 Federal Street

Boston, MA 02110

(617) 951-8000

DATED: April 19, 2001

CERTIFICATE OF SERVICE

I, Alicia L. Downey, hereby certify that the foergoing pleading was
served in compliance with the Federal Rules of Civil Procedure on this

19th day of April, 2001, by serving a true and correct copy by Federal
Express on all counsel of record.

Alicia L. Domne ()-

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' a4/1 9/2081 99:18 212-583-0248 YOUTHSTREAM / 6BDEGREES i 02
' ae my County of Middlasex

The Superior Court
B A
EXHIBIT CIVIL DOCKET# MIGV2001-01806

vason Hunter
vs.
Youthstream Media Networks, Inc. and Network Ewert Theater, Inc

SUMMONS AND ORDER OF NOTICE

To the above-named Defendants:
You are hereby summoned and required to serve upan ,
_ Nelson P Lovina, Esquire, plaintiffs ettomey, whese address iz Lavins & Matcailf,10

« CGeadar Steet, Wobum, MA 01801, , an answer to the complaint which is herewith

served Upon you. This must be done within 20 days aller service of this summons upon

you, exclusive af the day of servica. If you fall to do so, Judgment by default will be
taken against you for the reflef demanded in the complaint. You ara also required to file
your answer to the complaint m tha affice of the Clark of this Court at Cambridge either
before service upon plaintiffs attomey or within a reasanahie time thereafter.

Uniess otherwisa provided by Rule 13(a), your answer muat strte as a
counterclaim any claim whieh you may have against the plaintit which arises out of the
transaction oar occurrence that is the subject matter of the plalntifi's claim er you will
. thereaftar bea barred from making such claim in any ather action.

1 WE ALSO NOTIFY YOU that application has been mada in said action, as
appears In the complaint, for a prafiminary intunetion and that a hearing upon such
application will be held at the court house at said Middlesex County Superior Court, in
Cambridge an 04/20/2001, at 02:00 PM in Rrn 7B (Cambridge),

. at which time you may appear and show cause why such appcaticn shauid not be
granted.

Witness, Suzanne V. DeiVecchio, Esquire, Chief Justice of the Superior Court,
at Cambridge, Maseacrusetts this 17th of April, 2001,

>

{AFFIX RETURN OF SERVICE ON BACK OF SUMMONS)

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EXHIBIT B

POS WALTE OF MASSACHUSETTS
ThiaLs COURTS OF THE COMMONWEALTA

Middlesax, £6 , Superior Court Deparment
Civil Action No.

JASON HUNTER
Plaine, VERCEIED COMPLAINT
FOR IMJUNCTIVE
“vs AWD DECLARATORY RELIEF -

. AND FOR OTHGR PHILIES
YOUTHSTAEAM MEDIA NETWORKS, ic,
and NETWORK EVENT THEATER, ING,

Defendants,

This is 2 complaint to enfores the terns OF a written contract uncer which Neoovork Even
Tirrater, Inc. (SNEI") is required to dinributs psfiodically to Jason Homer ¢’Hunter”) shares of
cammon stock in NET fn exchange for shares (already transfencd by Hunter to NET), of a .
corporation which Hunter founded, NET, havin received the beneht of its bargain and having
obtained Hunter's shares in his corporation. ¢ now in the process of'digmantiing the business of
that cocparauun, end is in bed falth, by means of felse and fraudulent stalecients, and without
rolorable justificeuicn, refusing 10 distribule the shares for which Hunter hos aivaady paid and to
which he is entitled, NET’s bad faith is demonsiratcd, buer adic, by Its reliance upos preroxtual
regsona for refusing to issue the stack i flunter. VYextnstream Media Neouvorks, tne.
CVoutheyweam”s is praperly named ax 0 defendant teeaute, by Virtus of mergers and
arunisidons, NET har become a wholly owned subsidizcy of yYouthsiresin, Youthstreany nas,
without thereay releasing NEV from mose obligations, in practice and in fac gssumed the

ctiigations NFY aves to Hunter (ingluding issving ius Gun stack to Hunter Instead of thet of

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NOT: Vourkscetny bas been the pery agtively commuting rhe brenenes and weonghil consul
“which we the subject of cnls suk, and, on information and belie Yourhsitcan: has assumed the
' obdtipations and Gobilities of MET towards Baumer ay a mvaner of law. ‘Hunter secks doclaratory
relief to establish his rights to mock distrisutions. . There is curretly a Ine and jugticiacle
sontroversy berwcen the parties, the obligations of NEI and Youthstreant with respect 19
periodic quarterly stock disuibativny extend at least ta December of the year 2092. and i is
foreseeable thet NET and Youthstream will continue to act in Dietant znd unexcused violation of
their obligations. Infunctive relief is sought pedaure in fat, and ag o matter of Taw by the.
. agrecméat of the partics under the written congaet el issue, WET's and Youthstresm’s breach
constitutes 2nd causes i rreparable harm to Hunver.
1. Th? Parties Ang Juriadiciion
3. The plointify, Jason Hunter, C Hunter") is a natural person residing, in Cambridge, Middles¢x

County, Mazrachuzatts.

1

The defendant Network Even) Theater, Inc. (NET) Is 3 corporation organized under the
Jaw of D&lawere, with » ponceal place of business in New York City, New York 2nd with a
usual place ofousiness in C2moridge, Middtasex County. Magsechusetts.

B. The defendant Youtlsiscan Mediz MNecworks, Ince C’Youthurcam’) is corporation organized
under tis jaws of Delaware, with & principal place pC business in Now York City. New York,
and wiih a uszal plate of Business in Cambridge. Middicsex County, Massachusetts.

4. Tris Court fas subject-inacer purisdiainn over dis sul pursuam to Mass, Gen. Laws. &

73HA GBS tic 2D SA awin VIA, $12

This Coun hss pevsenal jusedicrian ovar tite defendants by virtus of thelr pregtnes in the

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Carmmarverkh of Messechusetts and by sitte of their qessszctiag, Dusinase In ghis

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i NT
cy ee ee eet ——— .

Commonwealth, The Seino zat forth tn this complaing arise out ot ens tesisacian of
busines, , . ,
i +g, Yasue for this antioa is proper in thit Cour: pursuant to Mase, Gi Laws, o 227 a1 by vie
I . ofthe fees that the pulntlff works and rasidasin this County. andy virese or the face thay the
‘defendams havea place of business in this County. “¢
“WL Facts Common Tell Counts
7, On or woart October 15, 1099, NET and Hunter, eméng othent, anleréd into a ocitten
ia. agresnem of MaKe (he “Agreement ) under which NET sbtained sil of ths shares of Fiack
. inkrine Corportion Cinvine’), © carporation founded ard owned in pert by Huruer,
i $. Tn exchanges for his Ineina sock. Hunter reselved a cestain number of shares Ln Nat, aed the
right to reetive firther shares ef Net one quarterty sahodule 28 321 forth tn Schedule 1.7 fo
the Agrsoment. A nye cary of that Sobedule Is attached hereze as Exhibit A
: 9. Under Exhibit A, the nurnber of chases Flamer wis to receive each quaster was dererminsd c=
the basis of # formula, Each querer, the rms loving slursholders who ware soul owed
siock by NET pursuit ro the Agvement were W tecive a number cf cheres oF NBT stock
the value of which (derenained bascd um un average of values during a procediag pasiod)
equaled the sharckaldar’s proportionate: sare uf the quately distribution | st forth in
Schedule 1.7, Thus, for Inxance, for quzstecly disaibutions on nd ater Marsh 31, 2000,
Hruer was entitled ‘io reaiva NBT wock wach (cs dsterminsd under whe contac)

€7,28882% of the tonl quasterty aimeibution.

19. The quately dierietion for March 41, 2901 was to be $373,000 and, as 4 result, Hunter
tl :

was entiticd to reads oo er ebcrut hat due srack of NET worth 473338324 of 5975.00.
te, 5)77,333.08. .

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Li On information snd beliet, ie nr arpuad the Eanning of fis year Qs NET aierged with
and was the eurviving corporetinn of a merger with, a whoily-owned subsidiary of
Youthstream (hereinafter, the "NET Merger”), and itself became a wholly-owned subsidiary

of Youthsrrcan.

12,48 a rezuts of the NET Merger. Hunter received Youthstream stock ino one-for-one
exchange for his RET siack. ,

}3. Following the NET Merger. on infuumation and belief, Yeuthsteoem vordueted all affairs of
WET: its corporate fecal department handicd the tegal affairs of NET, and- the stock of

: _ Youthstream was and is publicly traded vader the Geker neme formerly ud for NET stock,”
i.e, NETS.

1a, Pirther, on information and belief, Youthsireum £3 & maser of law or fect assumed the
JizbMities and obligations of NET.

15. Youthstream, while in fact assuming the obligations of NET towards Fulnter, hab refused to
provide Hunter with specific Information conternms the current legal and corporate structure
of NET add Youthsrram or the status cf NET’s and Youthsteoam’s lapel obligations towards
Huncer. Taste;d, Youthstremn baz ected as if, and thereby ted Hunter to believe thee, it has
stepped into the shoas of NEF with respect to NET's obligations to Hunter.

16. Aer tae NEY Merger, Home:'s quarterly stock distibutlons in payment for his sale of his
lnving srock took: the form of stock in Youthsiream.

tt. Whea Fointer snid his Invino stack to NET, he entered into en cinployment egrecaient with
Commeonginees VIC. « sclased ‘entity, As a part of the reorganization wrich included the '

NET Merger, Commongiaces. ULC al30 became wholly owner by ‘Yeucbsrcam, Aer the

MET Merger, Vouthswenn ected to Hf ik were Huttier’s employer under tat sercenent, aud

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reted in all parting rerposts in the cagachy of fis employee apele: Ne aureameat, Ader he

“ WE) Merger, Hunter's paychesks were jstucd by Veucthstresan

18. Bark Youthsatrcam and NET falled and refused to wake the quarterly distribuilun wn enter
Wue on ar atenat March 3]. 200).

1%, On or pbour Apnl 4, 203], Youthstream felsely. alieged that Funter had violased bis
employment zg7cenens with NET and Youthatream, 22d wihteld the stack duc to Monter 3s
a quarterly distribution on the pratent thet such withholding was en Yoffsst.” -

20. Neither Youthstream nor NET haye disclosed what camages they bave allegediy suftcrcal, or
how thete damiccs were calculated:

21. in face. Hunter has not damaged Youthstresm or NET In any wey ov, if he has Gvhich he
danies) there is ng credible scenario under Which those damauce even approach tho valuc of
the stock to which Bunter is entided

22, Further, andi equally disposiuve, there is no provision af the Agretment cr of Hunter's
employ mant suresment which permks either NEL or Youthstream to withhold the stock to
which Hunrer is ertitled, and for which he has already paid by the transfer of his Invino stock
to NET, ,

23. The claims winch Youthstream purports to set off against Hunter's glock had not been
proviousty disclosed by Youthstream, ave presently unquantified by Youtlstreim, aod afa in

i fehetested. Such 2 cet-off uF fetus diswed 19 2zise under az employment

contrag. and amounting only tu monsrary damages, eginst rights under the Agreement 33
preelidud as a muster of lew end equay by NET 's agroament, binding Ov Youurstrean, haz 6

lyeach under the Agrocmont ts subject to equilablc injancive retia’ and thet such brezuls

Causes Ur cunstineres irreparsbie harm.

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Case 1:01-cv-10659-RBC Document1 Filed 04/19/01 Page 10 of 19

Ta, The tug peaeeas why You suhsiraam gad NET cre engeging in thei? binrantiy uniewiub conduct

28.

a8. Furchernore, the tens anal conditians of the NET Merger appear 19 have Leon desivsed to -

appear to relate ro two factors, 28 St Gul jn the follawing paratrsphe.
NEL end Youthsresn are, on information. and betief xequinu! by Humer ts 2 result oF
. . .

discussions within NET and Youthstream’s Cunbrdge obties, jn che proses of dismantling

the business which Husler 2nd his fellow shareholders in Invina transferred la WET. A

consequence of this dismantling would be Wet HET and Youthstresm do not have o

continuing need for Buster's employnien Youtharaas and WET therefore have 2 more
for foreing Jiunter out of the affairs of MET and ‘Youthstrean. fa violation of both the

Agreement and Hunter's employmest contract.

entrench in their positions the douminant shareholders, officers and direscers of NET and
Youthstream. Huntes's gatitlement to quamely distribviione of Wowhsiveam stock pose =

chreat vo that enrenchment.

27, NET's doannan shareholders, officers end directon fece an cyen more SoIGES threat 10 their

entreothed position, however, because ofthe mancer in which WET chose te poy Hunter over .

time (or Iris Inving stinck AS ix abvicus tram the formula se ferth in the agreement, the
lower the Valus of Youthstreain stock: falls, the greater the raniber of Youthiwaam shares

Hunzer lg enthled to reselve quarteriy.

28, In fact. the value of NET and Youthstresm sloth has falcon dramatically. Acearding to 5

proxy soligitasion med “ith the Securities and Excnanga Commission in connection with the
NET Moergas, at or round the tims that Humer cold his Inno stock acc wok MET sock in

yetwnr ig, in une of #999). NET stock wes (rading at pines 11 the tas, hitting highs oF up

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went,

wot aversging sfound $14.00 a SIS00 per shee. Currentis, howe
Youthstresn stock is ading in the $1.00 per share rane.

29, For Hunter to reselyr the tair guiisideration for which he sould his Invina rock, therefore. ust
wrest be giyan more than ten times 2s many shares in Youthstresm than was anlisipated at thre
tine ofthe Agreement. Tis entitlement also threatens die ercrenchment ofthe Ganagenenr
of Youshstream and NET and provices « motive for tne wrongful getions of Yourkarcan tnd

. , NET beceuse, were Hunter to recaive ell of the shares ta which be fs entitled at the currsat
stock prices, hs would become the single largest sharehholder of the corporstion.

30, Furthermore, ov informarion and belief, thé dominant and controling nhargholdars, officers

and directors of NET and Youthsiream are cancernerl that ay large-seata sell ott hy Hunser
could threeten the value of their stock, including lowering tne price below the 51.00 per snare
Javal requlting in ik being delisted from neynr stock exchanges. and they safe therefore
impzoperly atteaspung to control the twarkat price by depriving Hunter of shares that contd b=
anid in the open market £0 a3 (9 affect stock price. In othe: words, they are unfeirly,
artitictel is ond Sraudulenny mnmupulating the value of Youthstream stock and. on jiormiation
and beled are commiuing a freed on use market

SU. Reving assumed under the Agreement the risk ther NET or Youthscream stock wuld become
valueless — 3 ek he still faces — Hunter is eaitled iu the benefit of ctiaining a2 many shares

GENET of Youtisvrean sock 2s the conuraccusl formals provides, along with the benefit of
h2Ving the optian of holding she stosk in the hopes thar that stack will eventually rebound in

waius, NET openty bargained for thay reeult by offering & spotk-lecestock swea based 010 2

Asencist formutu, and the refusal by Youthsucaum and NET 16 distribute stock is an sct of

Case 1:01-cv-10659-RBC Document1 Filed 04/19/01 Page 12 of 19

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va/2T/ 2004 warzS FAL 781 038 4763 LOVINSHMETCALF Bors

Ged fateh, aud srt unfair digllay clearly Intended to deprives Hunter of the eurscd seh 07
the sonteace berwecen the panies,

52. Because the refusal by Youthstrezm and NET to snake the quarterly diseibutian deprives
Bunter ofthe unique opzortunicy iv obsain shares in Youthstreans or WET. to partecipace ju is
manayemcnt and control, and 16 await the developments of the market, Bi eward of damayes
will nor adequately compensate Hunter for tha wrongful behaviar of Yornhstrazm ond NET.
Furthermore, Hunter is currently being denied the bancfits of partisiparion’ in the camporste
alfairs of Youthstrcam and NET. He is, therefore, surfcring immediate and irreparable injury
for which Injunctive and other eqaitable relief is required. ‘

33, Hunter mcorporates herein, by reference the averments Of paragraphs one through thirty-two
ser forth above, 23 if et forth in Fall herein.

34, NET end Youthsuerm ugreed, purrvant to paragraph 10.1 of the Agreement “thal urepercols
damage would occur in the cvea umy provision of thiy taresmisal were nat performed in
wccordaace with its spacitie perms or were othenvise breached.” Under this provision and
ovnenvite, Hunter is cntitled to equitable relief compeliing Youthstsam and NET to make
ths quanely stock distributions described above.

WHEREFORE, Hunter dersands that this honorable Court

>! Leve & preliminery inhmeston prohibising Youthstrean and NET from disteibuting lo
any orher person the sock to which Hunter is entitled, compelling Youthstwream and
NET to saake in Punter tha March 31. AOL quanerly in-kind distribution of stack

called for under Schedule £.7 ofthe Agrzement of Occober 15. 1999, tn ihe form of

mock in Vouthstreas, ad compalling Youthsuesarn snd NET to mane nf} furs

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Querterty cieethutloas of stock milled Sar under Schedule 1.7 of the Agreenieni of
Ocigber 15, 1999, ia she form of stoek in Vouthatrean: entil fither orcer of the
Courts nad

B. ys = a. permanent injunction prohibiting Youthstream and NET from diatributiny to,

any other person the stock to which Hunrer js entiticd, compelling Yourhstream and

NET to make to Hunter the March 31, 2007 querterly bekiad distribution ef sock

crltsd far under Schedule 17 of the Agreement of Ocreber 15. 1999, in the form of

stack in Youthstream, and compelling Vouthstream and NET to make all furure

quartarly disuibutions of stock called for under Schedule 1.7 of the Agreement! of

Oeroder 15, 1999 br the form oC stack in Youthstream,, .
C. Award to Hunter such o:her and farther eclief which this Court deems just.

COUNT TWO. Des solaratory Relist -

34 Hunter incorporates herein by reference rhe avernments of paragraphs one through thimy-fouc
get forth 2bove, as if set forh jn full hercin.

36. There Is sn actual, hve and justiciabie comrovesy ketween Hunter on the one hanc. and
Youthaucun and WET on the other, ecneerming Fanter’s entitlemens to kis quarterly in-kind
distributions unter the Agreement. ,

WHEREFORE, Hunter comands thet this nonorable Cowt declare she respective tivhes and

abliyations af ths parties under the Agleemeat, and eviard Hunter suck other und firiher relief as

this Coun dooms just.

COUNT THREE! Breach oline Covenpnt of Gand saith and Feir Dealing

#4, Hunts: incorporates harein by relerence the averments of paragraphs one throush thimy-six

ac) forth above, as jf se: tonk in All hergin,

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33. The conduct uF voucnaream and NET ¢esedbed abyve constiuter 2 breach of the ceenans
of good fath end Gir dsatine implicd in every “rasnttact, and in this ceas impligd iu the
Agreement.

_ 39. The breach by Youthstream and NET of the envenant of good fakh and fair dealiay implied
‘in the Agreement has caused damages to Hunter in an anveunt ta he determined av trinl, Dut
not less than $177,573.03.

WHEREFORE, Hunter deniands raat this Inmerable Court enter a judgment in his favor and

againn Youthstreain and NET in-an amount to ba determined at teial, buc not fece chan

. 3377.333.08, plus award him such other and firther relicf'as dis Cou deems just. °

GOUNT FOUR: Unfair and Deceptive Act and Practices

0. Hunter ineorporetes herein by reference the averments of perogrephs one through thirty-nine
sot fotth above, as ifeot forth in full herein.

41. Youthstream and: NET ac-all times pertinent hereto were and are engaged tn trade or
commerce. ,

42. Wish respecr to al transactions perinant hereunder. Hunter was and is at a'l times perdinant
hereto ¢ngeged in trade or Commerce

23 Hurter’s claims os 242 forth in chis complaint aise from the canduet of trade or commerce by
hint and by Youchstream and NET,

44, Tee wrong: described herein o¢eurred anc are oceurring primariy and substantially in che

Commonweahh of Massachvests,

43, Yourhurean and NET have é¢mployed a ceviec, scheme or anifice to defraud, have.

wrempted tO obtain angney or ploveny by means of unirua Rarements or omissions of

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inztmial fact, and have engaged ot a Uknsactign. pracdce of conse of tusiness witch

operric: «- $ irmud of deceiy upun a purchaser of sceuriiies, io., Hanive.

46. The wrongs desorbed herein were and ae unfair of deceptive, constituted untour
compeiiion, or were ofnenviss fa Violation of jaw end the prohibitions of Massachuse:s

. General Laws, chapter D3A, sections 2 and 1h.

- 47. The wrongs described herein were and ars bring committed knowingly and willfully.

WHEREFORE, Hunter demands that this Coun ewerd him injunetive retie€ in neeordance wich
ths pagyo set forth following Count One, chat he be awarded hic damages, that any such eward

of dpmages be trebled in, accordance with Massachusetts Gensral Laws chapter 93A_ segion 4).

that he be ewarded bis arormeys” fees Incurved in enforcing his rights 283 nenimst the unfair aud
deceptive acts and practices, unfai campetition and/or other wrongful and prohibited conduct of
Youthétebaro end NET, and that this Court eward him such other and further reliel ss this Coun

deems just.

JASON HUNTER
By his atromeys,

. lo ASS

Nelson #/ Loving, BBO # 396029
Paul M. Rezendes, BHO & 417320
Lovins & Metcalf
Ten Credur Street"
Chestnut Green
‘ Woburn, ATA 0) 80t
. (781/978-8800
fax: (7SE)S3E-S800

Dated: Anril 17, 7001

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VERIFICATION

2 Jason Founter, have read the Kuegaing complaint, The factual statements therein are auc and,
: wt ie earemeats Made on information and belief, they ere true to the best of my khowledue
nd belief) The toregoiny is siungd under the prins and penelties of peviury, : ”

Jason Hunter . *
Deted- April 1b. 2001

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x* TOTAL PAGE.18 **

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